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                        I N THE U NITED S TATES D ISTRICT C OURT
                           FOR THE D ISTRICT OF N EW M EXICO
                                       __________


JOHN W. CALDWELL,

                    Plaintiff,

v.                                                          No. CIV 08-593 BB/KBM

UNITED STATES OF AMERICA,

                    Defendant.


                                 M EMORANDUM O PINION
                                     IN SUPPORT OF
                  O RDER OF D ISMISSAL FOR L ACK OF J URISDICTION


      THIS MATTER is before the Court on the United States of America’s Motion

to Dismiss [doc. 39]. The Court having considered all submissions of counsel, finds the

Motion is supported by law and will be Granted.

I.     Legal Standard

      The Government’s Motion is for an order of dismissal pursuant to Federal Rule

of Civil Procedure 12(b) or alternatively for a summary judgment pursuant to Rule 56.

      (a)    Rule 12(b) Standard on Jurisdiction

      In deciding a motion to dismiss, the Court generally must accept all the well-

pleaded allegations of the complaint as true and must construe them in the light most

favorable to the plaintiff. See Pace v. Swerdlow, 519 F.3d 1067, 1073 (10th Cir. 2008).

Where jurisdiction is challenged, however, the Court’s function on a Rule 12(b)(6)
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motion “is not to weigh potential evidence that the parties might present at trial, but to

assess whether the plaintiff’s complaint alone is legally sufficient to state a claim for

which relief might be granted.” Tal v. Hogan, 453 F.3d 1244, 1252 (10th Cir. 2006)

(quoting Sutton v. Utah State Sch. for Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir.

1999). Plaintiff must thus make a prima facie showing of jurisdiction. Soma Medical

Int’l v. Standard Chartered Bank, 196 F.3d 1292, 1295 (10th Cir. 1999). A claim is

subject to dismissal under Federal Rule of Civil Procedure 12(b)(6) only when it

appears beyond a doubt that the plaintiff can prove no set of facts in support of his

claims which would entitle him to relief,” Ledbetter v. City of Topeka, 318 F.3d 1183,

1197 (10th Cir. 2003), or when an issue of law is dispositive. Neitzke v. Williams, 490

U.S. 319, 326 (1989).

      Generally, a district court may not consider any materials other than the

allegations of the complaint in deciding a motion to dismiss; if the court does consider

matters outside the pleadings, the motion to dismiss must be converted into a motion

for summary judgment. Utah Gospel Mission v. Salt Lake City Corp., 425 F.3d 1249,

1253 (10th Cir. 2005). However, as the Government has raised a jurisdictional issue

and the Court must initially satisfy its jurisdiction, such materials may be considered

for that purpose without turning the issue into a summary judgment proceeding. Holt




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v. United States, 46 F.3d 1000, 1003 (10th Cir. 1995).1 Since the Court is considering this

as a Rule 12 motion on jurisdiction, Plaintiff must make a prima facie case and the

Court may consider the affidavits of Defendant without turning this into a summary

judgment motion.2 Even accepting Plaintiff’s version of the facts, the FTCA does not

waive sovereign immunity for such a claim and this Court therefore lacks jurisdiction

of Plaintiff’s claim.

II.      Facts

         At approximately 2:00 in the afternoon of June 3, 2007, the recreational vehicle

owned and driven by Plaintiff rear-ended a tractor-trailer owned by Knight

Transportation on Interstate 10 between Las Cruces and Deming. The collision

occurred about 365 feet east of mile marker 122 which is located approximately one and

a half miles east of the I-10 checkpoint. Approximately 400 feet before the location of

the accident, there is a sign that reads “U.S. Border Patrol Inspection Station 1½

Miles.” The posted speed limit at the point of the accident was 75 miles per hour.

Approximately 900 feet before the location of the accident there is a sign that reads

“Reduced Speed Ahead.”




         1
                   If the jurisdictional claim is intertwined with the merits of the case by deriving from the same provision
of the statute which creates the claim, then, the motion becomes one for summary judgment under Rule 56. Id. Here,
the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 2674, does not create Plaintiff’s cause of action but waives sovereign
immunity which would bar Plaintiff’s common law negligence claim in certain instances. Black Hills Aviation v. United
States, 34 F.3d 968, 977 (10th Cir. 1994); United States v. Browning, 359 F.2d 937, 938 (10th Cir. 1966).

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                   Both parties cite depositions and affidavits and deposition testimony to establish the undisputed facts.


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       Before the collision occurred, the U.S. Border Patrol (“USBP”) agents staffing

the I-10 checkpoint received a call to “be on the lookout” (“BOLO”) for a certain

tractor-trailer that allegedly was transporting contraband. After the BOLO alert was

received, the traffic entering the I-10 checkpoint became moderate to heavy and

gradually began to bottleneck at the exit ramp that diverts traffic from the highway to

the checkpoint. Approximately a half hour before the accident, USBP Agent Fernando

Contreras, the senior agent at the I-10 checkpoint, observed that the traffic was backing

up onto the highway and decided to “flush” traffic or proceed “under green light” – i.e.,

to suspend checkpoint operations temporarily and permit traffic to flow through the

I-10 checkpoint.

       At the time of the collision, traffic had backed up to mile marker 122 and was at

a virtual standstill. Plaintiff’s RV was traveling immediately behind the Knight

tractor-trailer for at least a mile before the site of the collision. Being unable to stop,

Plaintiff rear-ended the trailer. Senior Patrolman Johnny Vigil (“Officer Vigil”) of the

New Mexico State Police investigated the collision and concluded that Plaintiff was

responsible for the collision due to driver inattention and because he was following too

closely. Officer Vigil cited Plaintiff for following too closely; Plaintiff paid the citation.

       The U.S. Customs and Border Patrol had directives governing Border Patrol

checkpoint operations (attached to Agent Garth Rogers’ Declaration as Ex. M). The

memorandum from the Chief of the Office of Patrol dated November 2003 states:



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      The attached directive addresses the critical need of checkpoint
      operations as they maximize the Border Patrol’s mission in securing the
      Nation’s borders against terrorists, smugglers of weapons of terror, other
      contraband, and illegal aliens. The directive will ensure consistency in
      checkpoint operations and enforcement nationwide.              It fosters
      communication and intelligence sharing throughout CBP. This directive
      provides standards for existing checkpoints as well as guidelines for
      establishing additional checkpoints in the future.

      The Guidelines also note that in addition to border security and contraband

intervention, “safe operation of traffic checkpoint is of the utmost importance” so that

“[n]either agents nor the traveling public should be subjected to hazards beyond those

that are inherent in any Border Patrol operation or any other activity involving moving

vehicles.” (B.P.C.O.G. 6.13). The standards recognize that “[i]t is understood that the

individual needs of each checkpoint will vary because of local conditions and

differences in traffic flow.” (B.P.C.O.G. 42.2). Thus, the Guidelines leave significant

discretion to agents on implementing safety procedures:

      6.13.8. Operations should be suspended if conditions become such that
      either the Border Patrol Agents or the traveling public are in danger of
      being injured through an accident. A conscientious appraisal must be
      made as to whether operations should be discontinued. Error should be
      on the side of caution. It is better to suspend traffic check operations than
      to continue under conditions that could result in an accident or an injury.
      The decision as to whether traffic check operations should be terminated
      rests with the Chief Patrol Agents but may be delegated to Patrol Agents
      in Charge of the station or the supervisory Patrol Agents in charge of the
      shift.

B.P.C.O.G. 6.13.8 (emphasis added).




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III.   Federal Tort Claims Act

       The FTCA waived the Government’s sovereign immunity protection by

providing that the “United States shall be liable ... to tort claims in the same manner

and to the same extent as a private individual under like circumstances.” 28 U.S.C.

§ 2674. However, the Act does not apply to all Government activities and functions.

The language of 28 U.S.C. § 2680(a) excepts from the waiver of sovereign immunity:

              (a) Any claim based upon an act or omission of an employee of the
       Government, exercising due care, in the execution of a statute or
       regulation, whether or not such statute or regulation be valid, or based
       upon the exercise or performance or the failure to exercise or perform a
       discretionary function or duty on the part of a federal agency or an
       employee of the Government, whether or not the discretion involved be
       abused (emphasis added).

This is commonly known as the “discretionary function” exception to the FTCA. See

Daigle v. Shell Oil, 972 F.2d 1527, 1537 (10th Cir. 1992).

       Plaintiff argues “[d]ismissal is improper as the discretionary function does not

apply to Plaintiff’s claim.” (Pl.’s Resp. p. 2). Only if the Court determines that the

United States has waived its sovereign immunity under the FTCA, notwithstanding the

discretionary function, does the question of whether the Government owes Plaintiff any

duty arise. Domme v. United States, 61 F.3d 787, 789 (10th Cir. 1995). The application

of the exception thus presents a threshold jurisdictional question. Id., Garcia v. United

States Air Force, 533 F.3d 1170, 1176 (10th Cir. 2008).




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       The discretionary function exception to FTCA waiver of sovereign immunity

marks the boundary between the willingness of Congress to impose tort liability upon

the United States and its desire to protect certain governmental activities from exposure

to suit by private individuals; if a discretionary function exception applies to challenged

governmental conduct, the United States retains its sovereign immunity, and the district

court lacks subject matter jurisdiction to hear the suit. Tippett v. United States, 108 F.3d

1194, 1196 (10th Cir. 1997). In order to determine whether the discretionary function

applies, the Supreme Court has set forth a two-part test. “Under that scheme, we

determine (1) whether the action at issue was one of choice for the government

employee, and (2) if the conduct involved such an element of judgment, whether that

judgment is of the kind that the discretionary function was designed to shield.” Id.,

quoting Berkovitz by Berkovitz v. United States, 486 U.S. 531, 536 (1988).

       The first element requires that the Border Patrol agents exercised their

discretion in establishing and operating the I-10 checkpoint. There is no dispute that

the Border Patrol received a BOLO for a tractor-trailer rig possibly carrying

contraband. Consistent with their core mission, the agents decided to attempt to

apprehend that vehicle. About 30 minutes before the accident, Senior Agent Contreras

decided traffic was backing up and, in spite of the BOLO, that he should “flush” the

checkpoint by temporarily permitting the traffic to flow through. Another agent, Joel

Campa, then established a “high visibility still-watch” by positioning his vehicle in the



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turnaround lane near mile marker 122 to monitor traffic in search of the BOLO

vehicle. (Campa Decl. ¶ 5).

       To fall outside the discretionary function exception the challenged decision must

have no element of judgment or choice. Elder v. United States, 312 F.3d 1172, 1177 (10th

Cir. 2002). General statements indicating policy goals or even implementation

guidelines do not necessarily take agency employee decisions out of the realm of the

discretionary exception to the FTCA. Tippett, 108 F.3d at 1197; Shansky v. United

States, 164 F.3d 688, 691 (1st Cir. 1999); Brotman v. United States, 111 F. Supp. 2d 418,

424 (S.D.N.Y. 2000). Moreover, the Border Patrol applicable directive expressly

provides that the decision as to whether traffic check operations should be terminated

rests with the Chief Patrol Agent “based on a conscientious appraisal of the

operations.” It is difficult to conceive of more discretionary language. See Elder v.

United States, 312 F.3d at 1177(Court recognized that while program specified

“minimum requirements,” it also recognized “each area must design its own safety and

occupational health effort.”) Clearly, the Border Patrol directive gave Senior Agent

Contreras discretion on how to operate the checkpoint in response to the BOLO and

it was his discretion to “green light” the traffic. Plaintiff fails to offer any evidence that

any of the Border Patrol actions were not discretionary, so the first prong is satisfied.

Compare McKinney v. City of Gainesville, 814 S.W.2d 862, 866 (Tex. Civ. App. 1991)

(City’s decision not to place barricades along parade route discretionary), with Sanchez



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v. Bellefeuille, 855 F. Supp. 587, 590 (N.D.N.Y. 1994) (fact issue created when Plaintiff

offered engineer’s affidavit that checkpoint itself expressly violated Border Patrol

Handbook).

      The second prong of the Berkovitz test is whether the action was of a type the

statutory exception to sovereign immunity was designed to shield. Senior Agent

Contreras indicated at least five policy reasons he decided to operate the checkpoint as

he did in response to the BOLO.        The most salient policy factors Senior Agent

Contreras considered include: (1) existing traffic signs already alerted motorists of the

approaching checkpoint; (2) he expected motorists to be aware of obvious obstacles;

and (3) he lacked adequate staffing to warn motorists of changing traffic and still

operate the checkpoint. (Contreras Decl. ¶ 8).

      A reasoned agency decision on how to handle an open and obvious risk has

generally been held to be within the congressional goal of placing such agency action

beyond the second guessing of tort actions. Tippett, supra; Elder, supra; Kiehn v. United

States, 984 F.2d 1100, 1103 (10th Cir. 1993); Zumwalt v. United States, 928 F.2d 951

(10th Cir. 1991); Weiss v. United States, 889 F.2d 937 (10th Cir. 1989). While each of

these Tenth Circuit precedents have factual similarities, perhaps the most instructive

precedent as to this second element is Johnson v. United States Department of Interior,

949 F.2d 332 (10th Cir. 1992). In that case, plaintiff’s decedent, Johnson, was mountain

climbing in Grand Teton National Park and mistakenly ended up on the wrong descent



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from Timberline Lake. Johnson fell on a hard snow rock slope sustaining serious head

injuries. Decedent’s climbing companions were unaware of his exact location and

reported his absence to the Park Rangers who decided to wait several hours to see if all

the climbers would return to the trail-head. By the time a helicopter search was

initiated the next morning, Johnson had died of hypothermia. Plaintiff brought suit

under the FTCA alleging the Park Service’s negligent failure to (1) adequately regulate

climbing in the Park, and (2) initiate and conduct a timely and efficient rescue effort.

The Tenth Circuit upheld the district court’s summary judgment granted pursuant to

the discretionary function exception. With regard to the second prong, the Circuit

Court found the regulation of climbing in the Park was exactly the kind of decision that

the exception was intended to apply:

      We conclude that decisions of, when and how to regulate mountain
      climbing in Grand Teton National Park go to the essence of the Park
      Service’s judgment in maintaining the Park according to the broad
      statutory directive. By their very nature, these decisions involve
      balancing competing policy considerations pertaining to visitor safety,
      resource availability, and the appropriate degree of governmental
      interference in recreational activity. The Park Service’s actions, insofar
      as they relate to the regulation of mountain climbing in Grant Teton
      National Park, are therefore shielded from judicial review by the
      discretionary function exception.

949 F.2d at 337.

      Affirming the discretionary function dismissal, the Court of Appeals focused on

the dangers of judicial interference with agency decisions:




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      We therefore focus our attention on the second prong of the Berkovitz
      analysis – whether the decision if, when or how to initiate a search or
      rescue is the kind of decision the discretionary function exception was
      designed to shield. Berkovitz, 486 U.S. at 536. Congress intended that the
      exception protect from judicial second-guessing only those governmental
      actions and decisions based on public policy considerations. Id. at 536-37.
      The key to a proper construction of the discretionary function exception
      thus lies in the determination of whether a governmental decision is
      “grounded in social, economic, and political policy.” Varig, 467 U.S. at 814
      (emphasis added). ...

      ... The nature of the rescue decision process is the critical inquiry: Do
      Park Service search and rescue decisions simply involve weighing safety
      considerations under an established program or do they involve the
      balancing of competing policy considerations?

949 F.2d at 338-39. The Tenth Circuit concluded “that the rangers’ decision if, when

or how to rescue inherently involves the balancing of safety objectives against such

practical considerations as staffing, funding and minimizing government intrusion.”

949 F.2d at 339.

      This is just the type of balancing required by the Border Patrol’s operation of

the checkpoint under the conditions at issue here. How to operate the checkpoint in

light of a BOLO alert involves “the balancing of safety objectives against such practical

considerations as staffing [and] funding.” Indeed, Senior Agent Contreras expressly

decided to “not assign any agents to warn approaching motorists of the traffic backup”

as he concluded the flush procedure “is the safest, most expedient manner in which to

alleviate traffic congestion at the I-10 Checkpoint.” (Contreras Decl. ¶ 2). The Court

lacks jurisdiction over this dispute and the motion to dismiss must be Granted.



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                                   ORDER

     For the above stated reasons, the United States of America’s Motion to Dismiss

is GRANTED, and this case is DISMISSED.




     SO ORDERED this 20 th day of October, 2009.




                                            _____________________________
                                            B RUCE D. B LACK
                                            United States District Judge




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